IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ZACHARY GREENBERG
CIVIL ACTION
Plaintiff

NO. 2:20-CV-3822
Vv.

JOHN P. GOODRICH , in his :

official capacity as Board Chair ofthe : Hon. Chad F. Kenney
Disciplinary Board of the Supreme

Court of Pennsylvania, et al.

Defendants

Declaration of Thomas J. Farrell, Esquire

I, Thomas J. Farrell, Esquire, declare:

1. I am Chief Disciplinary Counsel of the Office of Disciplinary Counsel
(“ODC”), which is an entity of the Disciplinary Board of the Supreme Court of
Pennsylvania.

2. I have held this position since January 2020. Before that, I practiced
law for thirty-four years, primarily in the area of federal criminal practice. | was an
assistant federal public defender in the Eastern District of New York from 1989 to
1993, an Assistant United States Attorney in the Western District of Pennsylvania
from 1995-2000, and an attorney in private practice from 2000-2019. I started my
career as law clerk to the Honorable Gustave Diamond in the United States District
Court for the Western District of Pennsylvania (1986-1988). I am a graduate of Yale
University (B.A. Philosophy 1983) and the New York University School of Law (J.D.

1986). I am admitted to the bars of New York and Pennsylvania as well as the bars
of several federal district courts and courts of appeals.

3. The ODC is charged with investigating complaints against
Pennsylvania-licensed attorneys for violating the Pennsylvania Rules of
Professional Conduct and, if necessary, charging and prosecuting attorneys under
the Pennsylvania Rules of Disciplinary Enforcement.

A, As part of my official duties, I am familiar with the process by which
ODC receives complaints, determines whether complaints are frivolous or require
further investigation, and whether to pursue discipline.

5. All recommendations to the Disciplinary Board that ODC pursue
charges against an attorney require my review and express approval.

6. As Chief Disciplinary Counsel, I have authority to direct how ODC
interprets the Rules of Professional Conduct, as well as determining the ODC’s
policy on handling complaints, including those raising First Amendment issues.

7. The ODC interprets Rule 8.4(g) as encompassing only conduct which
targets individuals by harassing or discriminating against an identifiable person.
The ODC does not interpret Rule 8.4(g) as prohibiting general discussions of case
law or “controversial” positions or ideas.

8. The Amended Complaint contains examples of Plaintiffs
presentations, speeches, writings, and similar actions, including paragraphs 17-23,
26-32, 92-94, 97, 99, 101.

9. These examples do not violate Rule 8.4(g), and the ODC would not

pursue discipline for them.
10. Discussing and citing case law, including quoting from cases as
described in the Amended Complaint in this matter or from other cases which may
contain language some consider offensive or controversial, does not violate Rule
8.4(g), and the ODC would not pursue discipline on this basis.

11. Speaking and writing about “hot-button legal issues including the
constitutionality of hate speech regulation, Title IX’s effect on the Due Process
rights of individuals accused of sexual assault and misconduct, campaign finance
speech restrictions,” (Amended Complaint { 2), does not violate Rule 8.4(g), and the
ODC would not pursue discipline on this basis.

12. Discussing topics and “controversial positions” does not violate Rule
8.4(g), and the ODC would not pursue discipline on this basis.

13. Discussing, advocating, or both, a position on hate speech regulations,
due process for students, monetary contributions in politics, and for the right to
express intolerant religious views do not violate Rule 8.4(g), and the ODC would not
pursue discipline on this basis.

14. For example, a continuing legal education (“CLE”) seminar may have
panel members from two sides of a “controversial” issue, such as those cited by
Plaintiff, advocating or discussing why they believe their position is correct. Such
presentations would not violate Rule 8.4(g), and the ODC would not pursue
discipline on this basis.

15. Speaking at non-CLE events, such as presentations to student groups,

college administrators, professors, college legal counsel, civic education events, and
other events and meetings, does not come within Rule 8.4(g), and the ODC would
not pursue discipline on this basis.

16. “Offensive” language or an allegation that someone was offended by a
speech or writing that does not target individuals by harassing or discriminating
against an identifiable person, does not come within Rule 8.4(g), and the ODC
would not pursue discipline under the Rule on this basis.

17. Based on a review of the published opinion in Jn re Traywick, 860
S.E.2d 358 (8.C. 2021), cited in the Amended Complaint, the conduct described
would not be covered by, nor would it violate Pennsylvania Rule 8.4(g), and the

ODC would not pursue discipline under the Rule on this basis.

Pursuant to 28 U.S.C. § 1746, I verify under penalty of perjury that the

Thomas d. Farrell, Esquire

foregoing is true and correct.

Chief Disciplinary Counsel of the
Office of Disciplinary Counsel

October 1, 2021
